     Case 2:21-cv-08409-JFW-SP Document 12 Filed 11/15/21 Page 1 of 1 Page ID #:55




                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES -- GENERAL

Case No.      CV 21-8409-JFW(SPx)                                          Date: November 15, 2021

Title:        ABS-CBN Corporation, et al.-v- Myra Lubag Custodio


PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                                 None Present
              Courtroom Deputy                               Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                    ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                 None

PROCEEDINGS (IN CHAMBERS):               ORDER TO SHOW CAUSE RE: STANDING ORDER

        The Court has reviewed the docket in this action and determined that counsel for Plaintiff
has failed to file the Declaration of Lead Counsel required by paragraph 3 of the Court’s Standing
Order. Accordingly, counsel is ordered to show cause in writing by November 17, 2021 why the
Court should not impose sanctions in the amount of $750.00 for violating the Court's Standing
Order. No oral argument on this matter will be heard unless otherwise ordered by the Court. See
Fed. R. Civ. P. 78; Local Rule 7-15. The Order to Show Cause will stand submitted upon the filing
of the response to the Order to Show Cause. Failure to respond to the Order to Show Cause will
result in the imposition of sanctions. In addition, counsel shall file the required Declaration on or
before November 17, 2021.

         IT IS SO ORDERED.




                                                                                Initials of Deputy Clerk sr
